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15                                 UNITED STATES DISTRICT COURT

16                               NORTHERN DISTRICT OF CALIFORNIA

17    COALITION ON HOMELESSNESS; TORO                Case No. 4:22-cv-05502-DMR
      CASTAÑO; SARAH CRONK; JOSHUA
18    DONOHOE; MOLIQUE FRANK; DAVID                  DEFENDANTS’ NOTICE OF MOTION AND
                                                     MOTION TO DISMISS THE THIRD
      MARTINEZ; TERESA SANDOVAL;                     AMENDED COMPLAINT
19
      NATHANIEL VAUGHN,
20                                                   Hearing Date:           February 13, 2025
             Plaintiffs,                             Time:                   1:00 p.m.
21                                                   Place:                  Courtroom 4 – 3rd floor
             vs.                                                             1301 Clay Street
22                                                                           Oakland, CA 94612
      CITY AND COUNTY OF SAN
23    FRANCISCO, et al.,                             Trial Date:             July 28, 2025

24           Defendants.

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 1                                  NOTICE OF MOTION AND MOTION

 2          TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:

 3          Notice is hereby given that on February 13, 2025, at 1:00 p.m., or as soon thereafter as this

 4   matter may be heard in the United States District Court for the Northern District of California, 1301

 5   Clay Street, 3rd Floor, Courtroom 4, before the Honorable Donna M. Ryu, Defendants City and

 6   County of San Francisco, San Francisco Police Department, San Francisco Department of Public

 7   Works, San Francisco Department of Homelessness and Supportive Housing, San Francisco Fire

 8   Department, and San Francisco Department of Emergency Management (collectively “San Francisco,”

 9   the “City,” or “Defendants”) will and hereby do move this Court to dismiss all claims brought by

10   Plaintiffs Coalition on Homelessness (“Coalition”), Sarah Cronk, Joshua Donohoe, Molique Frank,

11   David Martinez, and Teresa Sandoval, against the City pursuant to Rule 12(b)(1) of the Federal Rules

12   of Civil Procedure. Alternatively, the City moves the Court to dismiss the claims brought by the

13   Coalition for failure to state a claim pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure.

14          The City brings a motion challenging subject matter jurisdiction pursuant to Federal Rule of

15   Civil Procedure 12(b)(1) as to Plaintiffs Cronk, Donohoe, Martinez, Frank, and Sandoval because each

16   Plaintiff lacks Article III standing for all causes of action. Alternatively, all claims are moot because

17   Plaintiffs Cronk, Donohoe, Martinez, Frank, and Sandoval are housed such that there is no longer a

18   live controversy before the Court to redress.

19          The City also brings a motion challenging subject matter jurisdiction pursuant to Federal Rule

20   of Civil Procedure 12(b)(1) as to Coalition because Coalition fails to establish organizational standing

21   and associational standing. Alternatively, the City moves for dismissal pursuant to Federal Rule of

22   Civil Procedure 12(b)(6) since Coalition fails to state any claim as to itself and cannot bring any

23   associational claims pursuant to 42 U.S.C. § 1983 as a matter of law.

24          The City bases its motion on this Notice of Motion and Motion, the Memorandum of Points

25   and Authorities in support, the Declarations in support, the pleadings and papers submitted in this

26   action, and such other argument or evidence that may be presented to the Court.

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 1

 2   Dated: January 2, 2025
 3                                          DAVID CHIU
                                            City Attorney
 4                                          YVONNE R. MERÉ
 5                                          EDMUND T. WANG
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                                            Attorneys for Defendants
11
                                            CITY AND COUNTY OF SAN FRANCISCO; SAN
12                                          FRANCISCO POLICE DEPARTMENT; SAN
                                            FRANCISCO DEPARTMENT OF PUBLIC WORKS;
13                                          SAN FRANCISCO DEPARTMENT OF
                                            HOMELESSNESS AND SUPPORTIVE HOUSING;
14                                          SAN FRANCISCO FIRE DEPARTMENT; SAN
                                            FRANCISCO DEPARTMENT OF EMERGENCY
15                                          MANAGEMENT

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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     INTRODUCTION

 3          The Court’s Order granting in part and denying in part the City’s 1 motion to dismiss the
 4   Second Amended Complaint found that the Coalition on Homelessness (“Coalition”) lacked
 5   organizational standing and sufficiently alleged associational standing on behalf of its members as to
 6   the property-based claims. Relying on Coalition’s associational standing, the Court declined to
 7   consider the City’s factual argument that Sarah Cronk, Joshua Donohoe, Molique Frank, David
 8   Martinez, and Teresa Sandoval (“Individual Plaintiffs”) lacked standing to bring their property-based
 9   claims. Plaintiffs amended their Complaint to add allegations directed toward Coalition’s
10   organizational standing. These allegations create more problems than they solve. Not only do the
11   allegations not save the Coalition’s previously dismissed theory of organizational standing, they
12   undercut the theory of associational standing that the Court previously identified. This conclusion is
13   also supported by facts obtained in discovery since the City filed its last motion. Because Coalition
14   lacks standing to pursue the narrowed set of property-based claims it alleges in the Third Amended
15   Complaint (“TAC,” ECF No. 289), the Court must also consider whether the remaining Individual
16   Plaintiffs have standing. They do not because each and every one of them is housed. Accordingly, the
17   Court should grant the City’s motion and dismiss all claims.
18   II.    PROCEDURAL POSTURE AND FACTUAL ALLEGATIONS

19          On September 27, 2022, Plaintiffs commenced this lawsuit and moved for a preliminary
20   injunction. ECF Nos. 1, 9. Following Grants Pass, the City filed a motion to dismiss, arguing the
21   allegations in the complaint combined with the evidence developed through discovery demonstrate
22   that the identified individuals in the case do not have standing, that Coalition’s organizational standing
23   relied upon overruled law, and that associational standing failed because no identified member had
24   standing. ECF No. 242. On December 4, 2024, the Court acknowledged that it “has not previously
25   analyzed the merits of San Francisco’s arguments challenging the standing of any Plaintiff.” ECF No.
26   250 at 3. It found that Castaño (the only member with a specific injury articulated in the complaint)
27
            1
               Plaintiffs sued the City and County of San Francisco and five of its departments (collectively
28   referred to as the “City”).
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 1   and Vaughn did not have standing for any claims, that Sandoval lacked standing for her disability

 2   claims, and that all Plaintiffs failed to establish standing for state-created danger claims. The Court

 3   declined to address the City’s arguments to dismiss the Individual Plaintiffs’ property claims on

 4   standing grounds because it found that Coalition had associational standing to bring those claims

 5   based on its allegation that Coalition has thousands of members such that it “is relatively clear” there

 6   are members that were injured. The Court granted the City’s motion to dismiss with leave to amend

 7   and instructed Plaintiffs to “plead their best case.” Id. at 38.

 8           Plaintiffs filed their TAC on December 18, 2024. ECF No. 289. The complaint now contains

 9   only four property-based claims: violation of the Fourth Amendment and state law corollary under

10   Article I, Section 13 of the California Constitution (1-2) and violation of the Due Process clause and

11   corollary under Article I, Sections 7(a) and 15 of the California Constitution (3-4). Only five

12   Individual Plaintiffs remain: Cronk, Donohoe, Frank, Martinez, and Sandoval. Plaintiffs did not seek

13   to re-allege the dismissed claims for Castaño and Vaughn. ECF No. 288. As to Coalition, Plaintiffs

14   added new allegations concerning activities it claims the City interfered with, including its ability to

15   retain and recruit members, as well as allegations concerning the scope of its membership. TAC ¶¶ 22-

16   24. Two days after Plaintiffs filed the TAC, Coalition responded to the City’s discovery requests and

17   identified ten members that it plans to rely upon: Castaño, Cronk, Donohoe, Martinez, Shyhyene

18   Brown, Shanna Couper Orona, Sarah Stephenson, James Reem, “Melodie,” and Todd Bryant.

19   (Declaration of Steven Mills (“Mills Decl.”), Ex. A at 9-10.) 2 Coalition has also confirmed that it is

20   not representing other witnesses that have experienced homelessness in meet and confers. (Mills Decl.

21   ¶ 3, Exs. B-D.) Since none of these individuals can establish standing, the City moves to dismiss.

22   III.    LEGAL STANDARDS

23           “Federal courts are courts of limited jurisdiction” whose power “is not to be expanded by

24   judicial decree.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (citations

25   omitted). A defendant may seek dismissal for lack of subject matter jurisdiction pursuant to Federal

26   Rule of Civil Procedure 12(b)(1). “A Rule 12(b)(1) jurisdictional attack may be facial or factual.” Safe

27
             2
28               All exhibit references are to the Mills Declaration.
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 1   Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004). The City raises facial and factual

 2   attacks on Plaintiffs’ allegations of standing in the TAC.

 3          “[I]n a facial attack, the challenger asserts that the allegations . . . are insufficient on their face

 4   to invoke federal jurisdiction. By contrast, in a factual attack, the challenger disputes the truth of the

 5   allegations that, by themselves, would otherwise invoke federal jurisdiction.” Id. The court “may

 6   review evidence beyond the complaint without converting” a factual attack “into a motion for

 7   summary judgment.” Id. “The plaintiff bears the burden of proving by a preponderance of the evidence

 8   that each of the requirements for subject-matter jurisdiction has been met.” Leite v. Crane Co., 749

 9   F.3d 1117, 1121-22 (9th Cir. 2014). “Where, as here, the parties have taken discovery, the plaintiff

10   cannot rest on ‘mere allegations,’ but must instead point to factual evidence,” to survive. Murthy v.

11   Missouri, 603 U.S. 43, 58 (2024).

12          To meet the “irreducible constitutional minimum” of standing, a plaintiff must have (1)

13   suffered an “injury in fact,” (2) that is “fairly traceable” to the challenged conduct, and (3) will be

14   redressed by a favorable decision. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992) (citation

15   omitted). Injury in fact requires a showing of “‘an invasion of a legally protected interest’ that is

16   ‘concrete and particularized’ and ‘actual or imminent, not conjectural or hypothetical.’” Spokeo, Inc. v.

17   Robins, 578 U.S. 330, 339 (2016) (citation omitted) (emphasis added). For equitable relief, the

18   “threatened injury must be certainly impending to constitute injury in fact” and “allegations of

19   possible future injury are not sufficient.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013)

20   (cleaned up) (emphasis added). All Plaintiffs lack standing in their own right and the Coalition cannot

21   remedy that deficiency by resorting to organizational or associational standing.

22   IV.    THE INDIVIDUAL PLAINTIFFS DO NOT HAVE STANDING CONSISTENT WITH
            THE COURT’S PRIOR ORDER.
23
            Standing for equitable relief is demanding because possible future injuries based on
24
     contingencies or speculation are insufficient as a matter of law. City of Los Angeles v. Lyons, 461 U.S.
25
     95, 108 (1983); Clapper, 568 U.S. at 410; Lujan, 504 U.S. at 564; Hodgers-Durgin v. De La Vina, 199
26
     F.3d 1037, 1041-42 (9th Cir. 1999). As the Court already correctly recognized,
27

28
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                 “[A] person exposed to a risk of future harm may pursue forward-looking, injunctive
 1               relief to prevent the harm from occurring,” TransUnion, 594 U.S. at 435 (citing
 2               Clapper v. Amnesty Int’l, 568 U.S. 398, 414 n.5 (2013)), but “allegations of possible
                 future injury” or an “objectively reasonable likelihood” of future injury are
 3               insufficient to confer standing for injunctive relief. Clapper, 568 U.S. at 409-10
                 (emphasis in original). Instead, there must be a “substantial” risk of harm or a
 4               “threatened injury must be certainly impending to constitute injury in fact.” Id. at
                 409, 414 n.5 (emphasis in original) (cleaned up).
 5

 6   ECF No. 281 at 22. “Such ‘some day’ intentions—without any description of concrete plans, or indeed
 7   even any specification of when the some day will be—do not support a finding of the ‘actual or
 8   imminent’ injury that our cases require.” Lujan, 504 U.S. at 564. And conduct “that occurred several
 9   years ago” does not “establish that the threat of future injury is ‘actual and imminent,’ as opposed to
10   ‘conjectural or hypothetical.’” Stavrianoudakis v. United States Fish & Wildlife Serv., 108 F.4th 1128,
11   1144 (9th Cir. 2024) (citation omitted). In light of the controlling standard, courts find that the fear of
12   being homeless and possibly subjected to a hypothetical deprivation of rights in an unlawful
13   encampment is insufficient. Rios v. Cnty. of Sacramento, 562 F. Supp. 3d 999, 1012-13 (E.D. Cal.
14   2021); Berry v. Hennepin Cnty., No. 20-cv-2189 (ECT/JFD), 2024 WL 3495797, at *5-6 (D. Minn.
15   July 22, 2024); Proctor v. District of Columbia, 531 F. Supp. 3d 49, 61 (D.D.C. 2021). That approach
16   is sound because of the “high degree of immediacy” required where “the acts necessary to make the
17   injury happen are at least partly within the plaintiff’s own control.” Lujan, 504 U.S. at 564 n.2.
18           Each of the five remaining Individual Plaintiffs are housed and not subject to active term limits
19   where they reside. (Declaration of Sarah Locher ¶¶ 6b-6f; Declaration of Lisa Rachowicz ¶¶ 4-6.)
20   Furthermore, to the extent individuals receive County Adult Assistance Program (“CAAP”) benefits,
21   they have guaranteed access to shelter or can leverage other programs to avoid homelessness.
22   (Declaration of Jason Adamek ¶¶ 2-7.) As such, there is no question that their fears of future injuries
23   are contingent upon acts within their own control. This includes Plaintiffs leaving their housing,
24   rejecting resources available to them to avoid homelessness, declining to live with family or friends,
25   moving to the right of way in violation of valid anti-camping laws following Grants Pass (a shift in
26   this case that unsettled the entire premise of the lawsuit), unlawfully keeping property in the right of
27   way, organizing their property such that it cannot be deemed abandoned, and having it destroyed by
28   DPW (as opposed to someone else) without a reasonable constitutional basis to do so and without
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 1   sufficient notice under the circumstances. The Individual Plaintiffs also have disclaimed any intent to

 2   be homeless in the future and disclaim that they are storing property on the street. (Ex. E, Cronk Depo.

 3   Tr. at 158:3-159:6, 239:9-14; Ex. F, Martinez Depo. Tr. at 55:20-25, 56:8-9, 100:25-101:16; Ex. G,

 4   Vol. I, Frank Depo Tr. at 53:18-54:18, 56:16-57:2; Ex. H, Donohoe Depo. Tr. at 43:21-44:13, 45:11-

 5   13, 58: 23-59:1, 59:13-22; Ex. I, Castaño Depo. Tr. at 315:15-317:24).

 6          The Court underscored these same contingencies in dismissing Sandoval’s ADA claim, finding

 7   that “her future injuries are contingent on numerous events, including her leaving her current shelter;

 8   moving to the public right of way in violation of anti-camping laws such that the City forces her to

 9   move; and being forced to move without the City giving her “adequate notice, time, and

10   assistance” . . . and having her property seized by the City . . . .” ECF No. 281 at 23. The same logic

11   applies here. Since every Individual Plaintiff is housed, their “theory of standing for injunctive relief is

12   based on a ‘speculative chain of possibilities.’” See Clapper, 568 U.S. at 414 & n.5 (noting that

13   respondents fell short of even the “substantial risk” standard for future injury “in light of the

14   attenuated chain of inferences necessary to find harm”)). The Individual Plaintiffs cannot support this

15   Court’s jurisdiction and should be dismissed. 3

16          Even if an Individual Plaintiff had standing (they do not), their claims are moot for the same

17   reasons and must therefore be dismissed. They do not face any concrete harm with respect to the

18   practices complained of because they are housed and have an indoor location to store their property.

19   “A request for injunctive relief remains live only so long as there is some present harm left to enjoin.”

20   Bayer v. Neiman Marcus Grp., Inc., 861 F.3d 853, 864 (9th Cir. 2017) (citation omitted). “Speculative

21   contingencies afford no basis for finding the existence of a continuing controversy between the

22   litigants as required by article III.” Jarvis v. Regan, 833 F.2d 149, 154 (9th Cir. 1987) (quoting Lee v.

23   Schmidt-Wenzel, 766 F.2d 1387, 1390 (9th Cir. 1985)); Bayer, 861 F.3d at 864. For all of the

24

25

26          3
              The Court separately dismissed each of Castaño and Vaughn’s claims because they settled
27   and released their claims through earlier small claims actions against the City. (ECF No. 281 at 24.)
     Frank lacks standing for the same reason since he also settled his claims. (Exs. J-K.)
28
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 1   contingent and speculative reasons that the City already highlighted, Plaintiffs fail to overcome

 2   mootness. 4

 3   V.     COALITION LACKS STANDING.

 4          As the Court’s prior order on standing recognized, Coalition can invoke this Court’s

 5   jurisdiction through either organizational standing for injuries that it experienced in its own capacity or

 6   associational standing on behalf of its members. Based on new allegations in the TAC and new facts

 7   developed through discovery, Coalition’s standing fails under both theories.

 8          A.      Coalition Has No Standing As A Plaintiff In Its Own Capacity.

 9                  1.      Coalition Did Not Lose Any Property Because Of The City’s Conduct.

10          Standing requires a cognizable legal right that can be redressed by the Court. “It often turns on

11   the nature and source of the claim asserted.” Warth v. Seldin, 422 U.S. 490, 500 (1975). Coalition

12   admits that the City has not unlawfully seized or destroyed any of its property. (Ex. L at 28:14-4

13   [“Plaintiff Coalition . . . has not had its property destroyed by Defendants.”].) Under traditional Fourth

14   Amendment and Due Process standards, Coalition has no standing as an individual plaintiff. United

15   States v. Baker, 58 F.4th 1109, 1116 (9th Cir. 2023) (standing for Fourth Amendment claims exists

16   where there is a “reasonable expectation of privacy in a place searched, or meaningful interference

17   with their possessory interest in property seized”) (citing Lavan v. City of Los Angeles, 693 F.3d 1022,

18   1027-29 (9th Cir. 2012)); Fleck & Assocs., Inc. v. City of Phoenix, 471 F.3d 1100, 1104-05 (9th Cir.

19   2006) (recognizing that corporation had no standing because it did not have a cognizable privacy

20   interest at issue); Holohan v. Massanari, 246 F.3d 1195, 1209 (9th Cir. 2001) (holding plaintiff lacked

21   standing for due process claim absent injury resulting from the due process violation); Ariz. All. for

22   Retired Ams. v. Mayes, 117 F.4th 1165, 1173, n.2 (9th Cir. 2024) (recognizing the “standing analysis

23   is the same for organizations as it is for individuals”).

24          Coalition’s attempt to allege injuries to “the organization’s preexisting core activities” fails as a

25   matter of law because none of Coalition’s newly alleged “injuries” are traditionally cognizable in a

26
            4
27            The availability of adequate legal remedies also obviates the capable of repetition evading
     review exception in a case like this where damages for an alleged loss are available. See Lyons, 461
28   U.S. at 109 (finding damages claim is an “adequate remedy at law” and does not “evade” review).
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 1   Fourth Amendment or Due Process claim for injunctive relief. A cognizable concrete injury is

 2   “‘traditionally’ [one] recognized as providing a basis for a lawsuit in American courts.” TransUnion

 3   LLC v. Ramirez, 594 U.S. 413, 414 (2021) (citation omitted). And the Supreme Court has “stressed

 4   that the alleged injury must be legally and judicially cognizable” which “requires, among other things,

 5   that the dispute is traditionally thought to be capable of resolution through the judicial process—in

 6   other words, that the asserted injury is traditionally redressable in federal court.” United States v.

 7   Texas, 599 U.S. 670, 676 (2023) (cleaned up). The failure to allege any cognizable Fourth Amendment

 8   or Due Process injury that can be redressed underscores that Coalition’s claims “clearly appear[] to be

 9   immaterial and made solely for the purpose of obtaining jurisdiction,” and therefore must be dismissed

10   for lack of jurisdiction. Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 89 (1998) (citation

11   omitted); Rios, 562 F. Supp. 3d. at 1010, 1013, 1015 (dismissing Fourth and Fourteenth Amendment

12   claims with warning since organization’s property was not taken and process was no denied).

13                  2.      Coalition’s New Allegations Do Not Support Organizational Standing.

14          Lacking any property destruction on its own behalf, Coalition alleges a new conclusory theory

15   that the City has harmed Coalition’s pre-existing core activities. 5 Specifically, the TAC alleges that the

16   City injures Coalition by “[p]reventing the Coalition from helping unhoused people and members

17   navigate the homeless services system”; “[d]epleting the Coalition’s supply of basic necessities more

18   quickly”; “making it harder for the Coalition to do its public education work”; “[h]arming the

19   Coalition’s core activities of building coalitions of unhoused people . . . by causing a reduction in

20   participation of homeless people in Coalition’s sponsored events”; and “[u]ndermining the Coalition’s

21   ability to provide leadership and advocacy training services to unhoused people so they can effectively

22   participate in coalition-building and advocacy.” (TAC ¶¶ 22-24.) This fails for two reasons.

23          First, the failure to allege any traditionally-recognized injury as described above renders

24   Havens Realty Corporation v. Coleman, 455 U.S. 363 (1982), as well as Arizona Alliance’s “pre-

25   existing core activities” standard derived from Havens, inapplicable. Havens is “an unusual case” that

26
            5
27             Despite the Court’s prior order finding that Coalition’s diversion of resource allegations were
     insufficient as a matter of law (ECF No. 281 at 18-19), Coalition still alleges the theory. (TAC ¶¶ 168-
28   178). To the extent Coalition intended to re-new this theory, it fails for the same reasons.
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 1   should not be extended “beyond its context.” F.D.A. v. Alliance for Hippocratic Med., 602 U.S.

 2   367,395 (2024) (emphasis added). That context involved “whether a housing counseling organization .

 3   . . had standing to bring a [statutory] claim under the Fair Housing Act against” a business that

 4   provided false information to the counseling organization that directly impaired its ability to provide

 5   counseling services. Id. The claim was for statutory damages—not the systemic injunctive relief

 6   Coalition seeks here on constitutional claims. Havens, 455 U.S. at 377. Notably, the FHA conferred

 7   “on all ‘persons’ a legal right to truthful information about available housing”—meaning the

 8   organization had a redressable statutory cause of action for a cognizable injury directly caused by false

 9   information. Id. at 373. Unlike Havens, Coalition has no applicable statutory or constitutional right

10   and has no direct injury related to that right that is redressable. “A ‘telling indication of the severe

11   constitutional problem’ with [Coalition’s] assertion of standing to bring this lawsuit ‘is the lack of

12   historical precedent’ supporting it.” Texas, 599 U.S. at 677 (citations omitted).

13          Second, even assuming some injury to pre-existing core activities can be sufficient outside of

14   Havens’ unusual statutory context, the TAC’s allegations fail to sufficiently allege organizational

15   standing. Three of the five alleged activities—“public education,” “advocat[ing] and lobby[ing] for

16   legislation,” and “advocacy training” to engage in “advocacy” (TAC ¶ 24(c)-(e))—are precisely the

17   type of functions that do not count as “activities” as a matter of law. Ariz. All., 117 F.4th at 1177

18   (explaining “public advocacy” and “public education” do not support organizational standing).

19          As to the remaining activities, the TAC does not sufficiently allege traceability or

20   redressability. Taken to its logical conclusion, Coalition is requesting that the City stop dispersing

21   encampments so that Coalition can leverage unlawful encampments to build its base and provide more

22   services (including passing out tents). (See, e.g., TAC ¶ 24.) But displacement is legal under valid anti-

23   camping laws following Grants Pass, and there is no authority suggesting that Coalition’s continued

24   resistance confers standing. Moreover, traceability and redressability are also “substantially more

25   difficult to establish” in cases like this where Coalition suggests that it may obtain more members and

26   provide more services where that “depends on the unfettered choices made by independent actors not

27   before the courts and whose exercise of broad and legitimate discretion the courts cannot presume

28   either to control or to predict,” to become a member or accept services in the first place. Lujan, 504
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 1   U.S. at 562 (citations omitted); Hippocratic Med., 602 U.S. at 383 (recognizing that plaintiffs may not

 2   rely upon “distant (even if predictable) ripple effects”). Nor can injuries supposedly caused by the

 3   seizure of other peoples’ property satisfy Coalition’s burden because the Bag & Tag policy

 4   contemplates the City temporarily taking the same items lawfully. Plaintiffs agree that the Bag & Tag

 5   policy is constitutional and permits the seizure and removal of property (such as phones and

 6   computers) so long as the property is appropriately handled (i.e. bagged and tagged or disposed of if it

 7   meets certain criteria). Coalition’s conclusory allegations do not plausibly establish that the requested

 8   relief (compliance with the Bag & Tag policy) will redress the alleged harms since even if devices

 9   were properly bagged and tagged, Coalition would still face the same alleged injury if members did

10   not have access to those devices while they were bagged and tagged.

11          Finally, the TAC fails to “plead facts showing that [Coalition’s] core activities are directly

12   affected by the [City’s] conduct.” Ariz. All, 117 F.4th at 1172 (emphasis added). Instead, it rests on

13   conclusory and unsupported allegations, most of which rely on the actions or responses of hypothetical

14   third parties. For example, Coalition’s alleges, without any supporting facts or examples, that people’s

15   fear of losing property and shifted priorities have caused them to stop engaging with Coalition’s

16   advocacy and education activities (TAC ¶ 24(c)-(d)) and that after losing property, they come to

17   Coalition to get supplies (Id. ¶ 24(b)). Nor does the TAC provide a single example of a “Homeless

18   Verification” form being unlawfully destroyed (or even allege that occurred), a Coordinated Entry

19   application delayed or affected by the City’s unlawful conduct, or a single “basic necessity” that has

20   been prematurely depleted. This is insufficient to satisfy plausibility. Organizational standing fails.

21                  3.      Evidence Contradicts The Organizational Standing Allegations.

22          In addition to the pleading deficiencies, the TAC’s allegations are undermined by the record.

23   Coalition publicly holds itself out as an advocacy organization fighting for human rights of the

24   homeless for decades. (Exs. M-O; Cronk Depo. Tr. at 93:7-17.) As to their diversion of resources,

25   Coalition represents that it diverted resources from its core mission in 2021 to combat the City’s

26   practices and that the City’s practices prevented Coalition from building up its membership. (TAC

27   ¶¶ 24, 168-178.) To the contrary, the evidence shows the City financially supported Coalition’s efforts

28   to monitor and document Bag & Tag operations well before 2021 and that the Coalition gained
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 1   members by messaging arOlmd the City's conduct. Coalition was already monitoring the City's

 2   alleged prope1ty destrnction as early as 2016 according to Coalition's own annual repo1t. (Ex . Mat 2,

 3   4, 6; Ex.Nat 2, 6; Cronk Depo. Tr. at 103:21-104:5.) The City financially sponsored Coalition's

 4   Stolen Belonging project through an rut grant, with the goal of monitoring "sweeps" and having "50%

 5   of paiticipants get more involved in" Coalition 's campaigns. (Ex. P at 1, B-1.) By 2019, Coalition 's

 6   Boai·d of Directors voted t



 8   has always been advocacy against the City, including monitoring prope1ty destrnction and litigation.

 9   Coalition 's own strategy document                                                    from 2021 also

1O underscores that the organization

11                              (Exs. R-S .) That strategic focus belies a suggestion that the City interfered

12   with any core activity.6

13           Fmthennore, Coalition 's allegations that the City "make[s] it much more difficult for the

14   Coalition to stay in contact with or to maintain and secme new active members" (TAC iii! 24, 24a) is

15   m1supported by the record, which shows Coalition 's own strategic decision-making and lack of

16   documentation has led to the variability of its membership. Coalition 's Executive Director admitted in

17   2021 that

18

19                                                                                   (Ex. U , COH00873981 -

20   82.) And dialogue in 2020 among Coalition 's Human Rights Workgroup made clear that homeless

21   peopl

22                                              (Ex. V , COH00897441 at 441.) futemal and external factors

23

24

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 1

 2                (Ex. W, COH00742780-86, 742800-841.) Records also underscore myriad organizational

 3   challenges, including

 4

 5                                                         (Ex. X, COH00714800-801.)

 6           The suggestion that Coalition cannot connect with individuals on the street because of City-

 7   sponsored displacement ignores that there has been a reduction in homelessness

 8                (Ex. Y, COH01262155.) Coalition’s claimed members were not invisible on the streets

 9   either. Take Castaño for instance. He illegally camped in the open for weeks with a market and self-

10   created safe needle exchange. (Castaño Depo. Tr. at 205:11-25; Exs. Z, AA.) A public Google search

11   identified Cronk and Donohoe’s encampment, authenticated by Cronk as demonstrating where she

12   lived for months, and where Coalition found them to make a declaration. (Cronk Depo. Tr. at 221: 9-

13   223:23, 225:8-11, 225:25-226, 230:8-10, 241:17-243:5, 244:7-9; Ex. BB-CC; Donohoe Depo. Tr. at

14   29:14-23, 30:21-31:1.) While the TAC revolves around the contention that phone and emails are the

15   primary means of communication with members (TAC ¶ 24) Coalition’s own documents refute this.

16   Again, Coalition

17                         (Ex. W, COH00742780-86.) Coalition’s allegations also ignore the realities of

18   third parties not before the court being able to pay for, keep, and charge a phone, none of which is the

19   result of the challenged conduct. Depositions show that homeless individuals often obtain more than

20   one phone from federal programs and often cycle through them because they break, get disconnected,

21   or get stolen. (Castaño Depo. Tr. at 125:24-126:18, 127:2-14; Vol. I, Frank Depo Tr. at 62:3-63:9,

22   64:16-18; Martinez Depo. Tr. at 27: 12-19, 28:6-23, 35:11-36:5, 36:12-16, 198:18-199:8.) Given the

23   record, Coalition simply cannot carry its standing burden.

24           B.       Coalition Has No Associational Standing.

25           Coalition cannot save its claims through associational standing having failed to demonstrate
26   organizational standing. The Constitution does not establish any rule—let alone a bright line rule—
27   that an association can always sue on behalf of its members. Article III standing “normally bars
28   litigants from asserting the rights or legal interests of others[.]” Warth, 422 U.S. at 509. This rule
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 1   ensures that “plaintiffs possess such a personal stake in the outcome of the controversy as to assure

 2   that concrete adverseness which sharpens the presentation of issues upon which the court so largely

 3   depends for illumination of difficult constitutional [or statutory] questions.” Thinket Ink Info. Res., Inc.

 4   v. Sun Microsystems, Inc., 368 F.3d 1053, 1057 (9th Cir. 2004) (cleaned up). In Warth, the Court

 5   recognized that “[e]ven in the absence of injury to itself, an association may have standing solely as

 6   the representative of its members.” 422 U.S. at 511 (emphasis added). To have associational standing,

 7   an organization must have members. And even then, organizations may sue on behalf of members only

 8   “when: (a) its members would otherwise have standing to sue in their own right; (b) the interests it

 9   seeks to protect are germane to the organization’s purpose; and (c) neither the claim asserted nor the

10   relief requested requires the participation of individual members in the lawsuit.” Hunt v. Wash. State

11   Apple Advert. Comm’n, 432 U.S. 333, 343 (1977). Coalition lacks a sufficient membership to assert

12   associational standing. It also fails at the first and third prongs of the Hunt test. It also cannot state

13   these claims as a matter of law under Rules 12(b)(1) or 12(b)(6).

14                   1.      Coalition Cannot Carry Its Burden At The First Prong.
                             a.      Coalition Lacks The Necessary Indicia Of Membership.
15
             “Implicit in the first prong of this test is the requirement that an organization must generally
16
     have ‘members’ to bring suit on their behalf.” Or. Moms Union v. Brown, 540 F. Supp. 3d 1008, 1013
17
     (D. Ore. 2021). Although formal membership is not required, the organization must be “sufficiently
18
     identified with and subject to the influence of those it seeks to represent as to have a ‘personal stake in
19
     the outcome of the controversy.’” Am. Unites for Kids v. Rousseau, 985 F.3d 1075, 1098 (9th Cir.
20
     2021) (quoting Or. Advoc. Ctr. v. Mink, 322 F.3d 1101, 1111 (9th Cir. 2003)). To establish the
21
     requisite indicia of membership, courts evaluate whether purported members: (i) elect the
22
     organization’s leadership, (ii) serve as the organization’s leadership, and (iii) finance the
23
     organization’s activities, including the costs of litigation. Hunt, 432 U.S. at 344-45.
24
             In the TAC, Coalition alleges that it has had “thousands” of members that include “front line
25
     service providers, staff, and other advocates” in addition to the “unhoused people or people with lived
26
     experience of homelessness who supervise, direct, and lead the Coalition’s work.” (TAC ¶ 22.)
27
     However, Coalition’s Executive Director has admitted that Coalition does not
28
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 1                                                                                                                   (Ex.

 2   U.) Thus, Coalition must satisfy Hunt’s indicia of membership test. It fails to do so because its

 3   interrogatory responses fail to identify any facts in support of its contention that it can represent

 4   individuals. (Ex. A at 10-11.) Instead, Coalition’s

 5

 6   (Ex. DD, COH01508327.) Furthermore, Coalition’s

 7                                                                                                                      .

 8   (Ex. EE, COH00733808.)

 9

10                (Id.) It even obtained grant funding from the City to develop foundation for this lawsuit,

11   including obtaining declarants. (Ex. P; see, e.g., ECF No. 9-6 at 3.) On-and-off-again “members” such

12   as Cronk, Martinez, and Donohoe only provided volunteer services to the organization, have never

13   participated in any meetings with the Coalition, have not voted on its activities, and are unaware of

14   any rights they have. (Cronk Depo. Tr., 94:15-17, 96:18-97, 98:9-15, 98:24-103:6; Donohoe Depo. Tr.

15   at 198:24-200:12, 201:7-202:12; Martinez Depo. Tr. at 115:2-25, 116:20-119:16). This passive

16   involvement cannot support standing. See, e.g., Nat’l Ass’n of Advocs. v. Gemini Trust Co., LLC, No.

17   24-2356 (JDB), 2024 WL 4817122, at *2 (D.D.C. Nov. 18, 2024) (recognizing that “a platitude like a

18   claim to serve as a ‘voice’ for [the member group] falls far short of showing that any particular

19   [member] can actually influence . . . activities, and the invitation to share stories . . . [is] not enough

20   for membership”); Hindu Am. Found, Inc. v. Kish, No. 2:22-cv-01656-DAD-JDP, 2023 WL 5629296,

21   at *5-7 (E.D. Cal. Aug. 30, 2023) (dismissing complaint where constituency was large and influence

22   of constituency was not clear); see also 15 James William Moore, et al., Moore’s Federal Practice §

23   101.60 (3d ed. 2024) (“[A]n organization . . . may not claim associational standing merely by virtue of

24   the fact that it represents, or claims to represent, the interests of a group of people.”).

25           Coalition’s bid for associational standing is also troubling. In a public

26                     , Coalition

27

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 1                   (Ex. FF, COH00974421.) This strongly suggests an intent to manufacture standing

 2   where membership does not exist. Records show that LCCR and the ACLU

 3

 4                     . (Exs. FF-GG) In 2021, LCCR

 5                                                                             . (Exs. HH-II.) Coalition fails

 6   to establish the indicia of membership required under Hunt and its bid for standing fails.

 7                          b.      Coalition’s Identified Members Lack Standing.

 8          Even if Coalition is a qualifying membership organization for purposes of associational

 9   standing, Coalition must show “that its members, or any one of them, are suffering immediate or

10   threatened injury as a result of the challenged action of the sort that would make out a justiciable case

11   had the members themselves brought suit[.]” United Food & Com. Workers Union Loc. 751 v. Brown

12   Group, Inc., 517 U.S. 544, 552 (1996) (cleaned up). Coalition “must show that a member suffers an

13   injury-in-fact that is traceable to the defendant and likely to be redressed by a favorable decision.”

14   Associated Gen. Contractors of Am., San Diego Chapter, Inc. v. Cal. Dep’t of Transp., 713 F.3d 1187,

15   1194 (9th Cir. 2013) (citations omitted). An organization must make “specific allegations establishing

16   that at least one identified member had suffered or would suffer harm.” Id. (emphasis added) (quoting

17   Summers v. Earth Island Inst., 555 U.S. 488, 498 (2009)). The “requirement of naming the affected

18   members has never been dispensed with in light of statistical probabilities, but only where all the

19   members of the organization are affected by the challenged activity.” Summers, 555 U.S. at 498-99

20   (emphasis in original). Coalition cannot carry this burden.

21          New evidence produced following the Court’s prior ruling proves that the Coalition’s

22   identified members lack standing. Coalition responded to jurisdictional discovery identifying the

23   members that it claims support standing in the case. (Ex. A at 9-10.) Remarkably, despite Coalition’s

24   allegation that it has had thousands of members and dozens of active members, it now identifies a

25   mere ten, each of whom lack standing or are irrelevant to the standing inquiry: Castaño, Cronk,

26   Donohoe, Martinez, Brown, Couper Orona, Stephenson, Reem, “Melodie,” and Bryant.

27          Focusing first on individuals identified as members in the TAC, the Court already held that

28   Castaño does not have standing because he released his claims, so Coalition cannot base standing on
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 1   him. As for Couper Orona and Brown, the TAC alleges no plausible facts supporting an injury that

 2   confers standing for the requested injunctive relief to satisfy the heightened degree of immediacy for

 3   conduct within their control. (See TAC ¶ 181). Nor could they. Neither has claimed to be unsheltered

 4   or presently subject to the City’s alleged practices in sworn declarations. ECF No. 9-6 at 8-11, 58-63.

 5   Indeed, Brown was

 6                                                                                 Couper Orona has also

 7   been housed. (Cronk Depo. Tr. at 127:15-24.) Brown and Couper Orona do not have standing. Since

 8   the members identified by Coalition lack standing, its claim fails. Associated Gen. Contractors, 713

 9   F.3d at 1194; Weiser v. Benson, 48 F.4th 617, 623-24, n.4 (6th Cir. 2022).

10          Coalition erroneously goes beyond its pleading to establish standing through new “members.”

11   See supra, IV. Setting aside that these individuals are outside of the TAC, Cronk, Donohoe, and

12   Martinez 7 do not have standing because they are housed and cannot establish that their injuries are

13   certainly impending to justify systemic injunctive relief. (See supra, IV.) Coalition also cites to

14   depositions asserting they are members without pointing to any other justification within Coalition’s

15   control, including that those individuals were members when this case was commenced, given that this

16   is Coalition’s burden. (Ex. A at 9-10.) Stephenson (who is housed) and Reem (who is unhoused)

17   became members after this case was commenced and are therefore irrelevant to the standing inquiry

18   since Coalition needed to have standing when it filed suit. Skaff v. Meridien N. Am. Beverly Hills,

19   LLC, 506 F.3d 832, 838 (9th Cir. 2007); 3C, LLC v. Rokita, No. 1:23-cv-01115-JRS-MKK, 2024 WL

20   4348299 (S.D. Ind. Sept. 29, 2024) (holding that entity that was not a member when the case

21   commenced could not support associational standing); Freedom From Religion Found., Inc. v. Weber,

22   951 F. Supp. 2d 1123, 1131 (D. Mont. June 25, 2013) (rejecting information of members that postdate

23   filing of the lawsuit). Bryant—who provided testimonials in connection with the Stolen Belonging

24
            7
25            Courts cannot consider theories not raised in a complaint. See, e.g., Coleman v. Quaker Oats
     Co., 232 F.3d 1271, 1292-93 (9th Cir. 2000) (“A complaint guides the parties’ discovery, putting the
26   defendant on notice of the evidence it needs to adduce in order to defend against the plaintiff’s
     allegations.”). Donohoe was not a member in connection with the last motion and counsel represented
27   Sandoval was. These inconsistencies suggest an intention to manufacture standing where none exists.
     (Compare ECF Nos. 247 at 4:27-6:10, 247-5 ¶ 12, 247-3 with Ex. A at 9-10; see also Exs. FF,
28   COH00974421, GG, II.) They also make mounting a fair defense needlessly more difficult.
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 1   project (ECF No. 9-6 at 3)—was                                                                     is not

 2   subject to an injury that is certainly impending, and is not presently accessible based upon a meet and

 3   confer with his outside counsel.                      Mills Decl. ¶ 40.) The final member “Melodie”

 4   does not have a full name and is not on Coalition’s disclosure and likely trial witness list. (Ex. A at 9;

 5   Ex. JJ.) Notably, Coalition passively verifies that she “has been unhoused” which does not go as far as

 6   saying she is unhoused—a dispositive distinction given that Coalition did identify James Reem as

 7   being unhoused. (Ex. A at 9-10.) The claimed injuries for Stephenson, Reem, and Melodie have not

 8   been disclosed in written discovery and are no basis for a claim. (Ex. L at 18-22.) Unable to satisfy its

 9   burden to identify a member with standing, the Court should reject Coalition’s claim.

10          The City anticipates that Coalition will argue that its allegation that it has had thousands of

11   members is enough given the Court’s prior order relying upon that allegation. However, Coalition

12   plead its way out of doing so. For the first time in the TAC, Coalition alleges that its members include

13   “front line service providers, staff, and other advocates” in addition to the “unhoused people or people

14   with lived experience of homelessness who supervise, direct, and lead the Coalition’s work.” (TAC ¶

15   22.) This new allegation confirms that Coalition consists of myriad housed individuals who are not all

16   subject to the City’s practices. Since not all of Coalition’s members are equally injured, Summers

17   requires that Coalition allege and identify a specific injury to a member. Summers, 555 U.S at 498-49.

18   The TAC’s request for systemic relief does not change the result. Associations “do not have standing

19   to seek systematic relief extending far beyond the injuries actually incurred by those members. . . . To

20   hold otherwise would also seemingly allow [associational plaintiffs] to end-run the requirements of

21   Federal Rule of Civil Procedure 23 through which Congress has already set-forth the prerequisites for

22   those seeking broad based, class-wide relief.” Bone v. Univ. of N.C. Health Care Sys., 678 F. Supp. 3d

23   660, 704 (M.D.N.C. 2023). Understanding its burden, Coalition did identify members in the complaint

24   and now through jurisdictional discovery. Those members lack standing compelling that this case be

25   dismissed.

26          Reliance on National Council of La Raza v. Cegavske, 800 F.3d 1032 (9th Cir. 2015) and

27   Maya v. Centex Corp., 658 F.3d 1060 (9th Cir. 2011) where a factual attack has been made would be

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 1   error. See Associated Gen. Contractors, 713 F.3d at 1194 (requiring identification). 8 The failure to

 2   identify a member with standing through facts and allegations is dispositive.

 3                  2.      Coalition Cannot Carry Its Burden At The Third Prong.

 4          The third prong dictates that associations have standing only when “neither the claim asserted

 5   nor the relief requested requires the participation of individual members in the lawsuit.” Hunt, 432

 6   U.S. at 343. It also concerns “matters of administrative convenience and efficiency.” United Food, 517

 7   U.S. at 557. “The party invoking federal jurisdiction bears the burden of establishing prudential and

 8   constitutional standing . . . .” Keepers, Inc. v. City of Milford, 807 F.3d 24, 39 (2d Cir. 2015) (citing

 9   Lujan, 504 U.S. at 561). Dismissal is required here because Coalition’s attempt to raise the

10   constitutional claims of its members cannot be squared with the substance of those causes of action

11   and the limits of separation of powers. Spinedex Physical Therapy USA Inc. v. United Healthcare of

12   Ariz., Inc., 770 F.3d 1282, 1293 (9th Cir. 2014) (dismissing claim where association “cannot satisfy

13   the third requirement”).

14                          a.      Coalition Does Not Add Efficiency Or Convenience.

15          New facts confirm that Coalition’s presence in this case does not add administrative efficiency

16   and convenience and that dismissal is justified. In denying the City’s last motion to dismiss, the Court

17   relied upon Coalition’s representation that “Coalition’s participation likely increases litigation

18   efficiency due to its ability to assist in organizing discovery and facilitating participation of witnesses,

19   many of whom are unhoused or marginally housed and may be more difficult to contact.” (ECF No.

20   281 at 12.) Mere hours later, Coalition shifted direction before the Court. Specifically, when the City

21   clarified that it may move for substituted service since it has had limited success serving non-party

22   members and witnesses, counsel for Coalition confirmed that they do not represent those non-party

23   members and witnesses. (Ex. KK at 13:1-14:17.) In an unsuccessful attempt to save the case by

24
            8
               The viability of those two cases has also been questioned. Maya declined to apply Twombly
25   and Iqbal’s plausibility requirement. Maya, 658 F.3d at 1068. But Maya has been disavowed in a
     precedential opinion in favor of the plausibility requirement. Jones v. L.A. Cent. Plaza LLC, 74 F.4th
26   1053, 1056, n.1 (9th Cir. 2023) (holding that Maya “is . . . no longer good law”). Because Cegavske
     relies upon Maya for the legal standard, it employed a liberal “relatively clear” standard rather than the
27   controlling plausibility standard. In light of the standing and pleading requirements, the “continuing
     vitality of Cegavske is an open question.” Cal. Rest. Ass’n v. City of Berkeley, 89 F.4th 1094, 1116
28   (9th Cir. 2024) (Baker, J., concurring).
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 1   manufacturing prudential standing where it did not exist, Coalition claimed that they may now be able

 2   to try to facilitate service with no guarantee that they can do so just months away from the fact

 3   discovery cut-off after more than two years of litigation. In good faith, the City has attempted to confer

 4   with Coalition following the hearing and Coalition’s counsel accepted service for three of the 50

 5   witnesses they have identified in this case that have experienced homelessness: Stephenson, Reem,

 6   and Shelsey Wiley (who is not a stated member or likely trial witness). (Exs. B-D.) Notably, Couper

 7   Orona—one of the three members identified in the TAC—posted a photograph with counsel during

 8   the pendency of the City’s last motion yet neither Coalition nor its counsel has represented her or

 9   facilitated service on her. (Exs. LL; Exs. B-D.) Coalition cannot use membership as a “sword and

10   shield.” Sherwin-Williams Co. v. Spitzer, No. 1:04CV185 (DNH/RFT), 2005 WL 2128938, at *10

11   (N.D.N.Y. Aug. 24, 2005). Facilitating service on six percent of the persons identified on their initial

12   disclosures is a far cry from efficient and convenient. (See Ex. JJ at 3-6.)

13            Given the conceded lack of representation, it is readily apparent that Coalition had no authority

14   to represent those members and witnesses when this case commenced. The law is clear, “plaintiffs”

15   and not defendants “must demonstrate standing for each claim that they press and for each form of

16   relief that they seek.” TransUnion LLC, 594 U.S. at 431 (emphasis added). Coalition has failed its

17   burden and its claims about the scope of its representation has cost the City considerable time and

18   effort. It also risks substantial prejudice if the City cannot challenge the veracity of the accusations

19   against it. This need is imperative because Coalition recently produced guidance materials used to

20                         that expressly counseled against

21                                (Ex. MM.) And one Plaintiff pleaded the fifth as to fraud in connection

22   with a government loan application, undermining his declaration (Ex. NN, Volume II, Frank Depo. Tr.

23   at 202:19-208:24, 216:23-217:5, 218:5-20, 226:11-21), another withdrew a declaration pending before

24   the Court following deposition (ECF No. 257), a third disclaimed that his declaration was even

25   prepared for this litigation (Castaño Depo Tr. at 187:1:191:15, 281:10, 281:14-25, 291:7-292:8), and a

26   fourth

27

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 1

 2                               Prudence compels dismissal.

 3                          b.      Individual Member Participation Is Required.

 4          Each of the remaining claims requires participation of individual members to prove underlying

 5   constitutional violations. The Bag & Tag policy permits the City to discard an item under certain

 6   circumstances, for example when it is abandoned, when it is co-mingled with hazardous material, or

 7   when it is soiled. (ECF No. 65 at 9.) For Coalition to satisfy its burden whether a particular member’s

 8   rights were actually violated (and that the member has standing), members must be involved (through

 9   depositions, document subpoenas, and trial testimony) so the parties can inquire into what property

10   they claim was destroyed and its condition, whether they abandoned their property or consented to it

11   being discarded, any health and safety hazards that would factor into items being bagged and tagged,

12   and whether they received notice or sufficient time to move under the particular circumstances they

13   experienced. Since Plaintiffs do not challenge any policy on its face and have admitted that the Bag &

14   Tag policy is constitutional (TAC ¶ 237; ECF No. 65 at 42:27-28), their assertion that the City has a

15   practice of destroying belongings in violation of its written policy means individual involvement is

16   required to determine these personal rights where items can be lawfully disposed of. Plumhoff v.

17   Rickhard, 572 U.S. 765, 778 (2014) (recognizing that Fourth Amendment rights are personal rights for

18   1983 claims); Baker, 58 F.4th at 1116 n.1 (standing looks at the possessory interest); United States v.

19   Mitchell, 915 F.2d 521, 526 n.8 (9th Cir. 1990) (recognizing due process rights are personal). These

20   types of inquiries are not tangential; they are at the heart of Plaintiffs’ claims. And “multiple

21   variations, specific to individual members” of this kind are “not susceptible to judicial treatment as

22   ‘systematic policy violations that . . . make extensive individual participation unnecessary.’” Spinedex

23   Physical Therapy USA Inc., 770 F.3d at 1293; Pac. Radiation Oncology, LLC v. Queen’s Med. Ctr.,

24   861 F. Supp. 2d 1170, 1192 (D. Haw. 2012) (evaluating due process violations required individual

25   participation).

26          Ultimately, these individualized inquiries are far removed from a pure facial legal challenge to

27   a statute contemplated in Hunt to justify associational standing. The fact that this litigation only seeks

28   injunctive relief does not change the result. See Spinedex Physical Therapy USA Inc., 770 F.3d at
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 1   1293. “The relief sought is only half of the story. . . we also must examine the claims asserted to

 2   determine whether they require individual participation.” Rent Stabilization Ass’n v. Dinkins, 5 F.3d

 3   591, 596 (2d Cir. 1993). “Indeed, such a rule [allowing associational standing to exist in all cases

 4   seeking injunctive relief] is plainly precluded by the Court’s holding in Hunt, which requires the Court

 5   to look not only at the type of relief requested but also at the nature of ‘the claim asserted’ to

 6   determine whether member participation is required . . . .” Cmty. Fin. Servs. Ass’n of Am. v. FDIC, No.

 7   14-cv-953 (GK), 2016 WL 7376847, at *6 (D.D.C. Dec. 19, 2016); see also Friends for American

 8   Free Enterprise Ass’n v. Wal-Mart Stores, Inc., 284 F.3d 575, 577 (5th Cir. 2002) (finding that fact-

 9   specific tort claims required participation of members even though the case sought injunctive relief);

10   Kansas Health Care Ass’n v. Kansas Dep’t of Soc. and Rehab. Servs., 958 F.2d 1018, 1022 (10th Cir.

11   1992) (reversing associational standing premised on the injunctive relief sought because it ignored the

12   factual inquiries necessary to establish the claim). Because Coalition is seeking systemic relief, it does

13   not have standing “beyond the injuries actually incurred by those members.” Bone, 678 F. Supp. 3d at

14   704; California v. Azar, 911 F.3d 558, 582-83 (9th Cir. 2018) (“Injunctive relief generally should be

15   limited to apply only to named plaintiffs where there is no class certification.” (alterations and

16   quotation omitted)); see also Hills v. Gautreaux, 425 U.S. 284, 293-94 (1976) (“Once a constitutional

17   violation is found, a federal court is required to tailor the scope of the remedy to fit the nature and

18   extent of the constitutional violation.” (citations and internal quotation marks omitted)). Establishing

19   the scope of the members’ genuine constitutional injuries to support systemic relief is unavoidable to

20   satisfy due process for the City’s defense. If individual members do not testify to establish their own

21   injuries, the Court will not be able to rule out that the destruction of their property was consistent with

22   the Bag & Tag policy.

23          This case’s status as a pattern and practice case further confirms the individual members’

24   participation is required. To establish municipal liability, plaintiffs “must prove that ‘action pursuant

25   to official municipal policy’ caused their injury.” Connick v. Thompson, 563 U.S. 51, 60 (2011)

26   (citation omitted). With pattern and practice claims, such as the one at issue here, “[l]iability . . . may

27   not be predicated on isolated or sporadic incidents; it must be founded upon practices of sufficient

28   duration, frequency and consistency that the conduct has become a traditional method of carrying out
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 1   policy.” Trevino v. Gates, 99 F.3d 911, 918 (9th Cir. 1996) (citations omitted). To show the alleged

 2   pattern and practice, Coalition has identified that it plans to rely on its claimed members—each of

 3   whom must necessarily participate in discovery and trial.

 4                                  i.      The Associational Claims Fail As A Matter Of Law.

 5          The Supreme Court has acknowledged that its jurisprudence has complicated standing inquiries

 6   making it difficult for courts and litigants. See Thole v. U.S. Bank N.A., 590 U.S. 538, 547 (2020)

 7   (“Courts sometimes make standing law more complicated than it needs to be.”). Prudential labels and

 8   their impact on standing limits are one of those areas that has not been defined with precision. In a

 9   unanimous opinion, the Supreme Court highlighted the areas where prudential doctrine has been

10   litigated. “[W]e have adverted to a ‘prudential’ branch of standing, a doctrine not derived from Article

11   III and ‘not exhaustively defined’ but encompassing (we have said) at least three broad principles:

12   “‘the general prohibition on a litigant’s raising another person’s legal rights, the rule barring

13   adjudication of generalized grievances more appropriately addressed in the representative branches,

14   and the requirement that a plaintiff’s complaint fall within the zone of interests protected by the law

15   invoked.’” Lexmark Int’l Inc. v. Static Control Components, Inc., 572 U.S. 118, 126 (2014) (citation

16   omitted). The Court went on to hold that “upon closer inspection,” prudential labels have been “inapt,”

17   and noted that while “limitations on third-party standing are harder to classify,” “consideration of t[he]

18   doctrine’s proper place in the standing firmament can await another day.” Id. at 127, n.3. This is

19   relevant to the pending motion because associational standing is a “strand” of representative standing.

20   United Food, 517 U.S. at 557; see also Hippocratic Med., 602 U.S. at 398 (Thomas, J., concurring)

21   (“Associational standing, however, is simply another form of third-party standing.”); Nā Po’e Kōkua

22   v. Bank of Am. Corp., CIV. No. 22-00238-JMS-WRP, 2023 WL 2042923, at *3 (D. Haw. Feb. 16,

23   2023) (same); Cmty. Fin. Servs. Ass’n of Am., 2016 WL 7376847 at *14 (recognizing “the fact that

24   both associational and third party standing have been labelled prudential in the past, does not establish

25   what will happen in the future, post-Lexmark”); Dayton Area Chamber of Commerce v. Becerra, Case

26   No. 3:23-cv-156, 2024 WL 3741510, at *6-7 (S.D. Ohio Aug. 8, 2024) (finding changes in the already

27   “scarce” case law support individual participation being required).

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 1          Since Lexmark, the Ninth Circuit has interpreted it as “suggesting that, in many cases, ‘third-

 2   party standing’ is really an issue of whether the party has a cause of action under a statute, which in

 3   turn depends in part on the zone-of-interests test.” A.B. v. Haw. State Dep’t of Educ., 30 F.4th 828, 841

 4   (9th Cir. 2022) (citing to Lexmark, 572 U.S. at 127 & n.3); see also Am. Psychiatric Ass’n v. Anthem

 5   Health Plans, Inc., 821 F.3d 352, 360 (2d Cir. 2016) (“Lexmark teaches that we cannot expand the

 6   congressionally-created statutory list of those who may bring a cause of action by importing third-

 7   party prudential considerations.”). The “background presumption (in the statutory context, about

 8   Congress’s intent)” is “that litigants may not assert the rights of absent third parties.” United Food,

 9   517 U.S. at 557; Warth, 422 U.S. at 501 (recognizing that “persons to whom Congress has granted a

10   right of action, either expressly or by clear implication, may have standing to seek relief on the basis

11   of the legal rights and interests of others”). The foregoing demonstrates that courts analyze the specific

12   cause of action that Congress fashioned to see if it authorizes a representational suit as a matter of law.

13   That result is consistent with the leading associational standing cases setting forth associational

14   standing. For instance, in United Food the union was “ostensibly authorized to sue” on behalf of the

15   union workers under the WARN Act. United Food, 517 U.S. at 546 (citation omitted). Similarly, in

16   Hunt, the Washington State Apple Advertising Commission was created by statute and “charged with

17   the statutory duty of promoting and protecting the State’s apple industry.” Hunt, 432 U.S. at 336-37.

18          Thus, in order to invoke associational standing following Lexmark, Coalition must establish

19   that “the statute grants [it] the cause of action that [it] asserts.” Bank of Am. Corp. v. City of Miami,

20   581 U.S. 189, 196-97 (2017). “Whether a plaintiff comes within ‘the zone of interests’ is an issue that

21   requires us to determine, using traditional tools of statutory interpretation, whether a legislatively

22   conferred cause of action encompasses a particular plaintiff’s claim.” Lexmark, 572 U.S. at 127

23   (cleaned up). By its plain terms, Section 1983 only provides a remedy and makes a defendant “liable

24   to the party injured” by a “deprivation of any rights, privileges, or immunities secured by the

25   Constitution and laws.” 42 U.S.C. § 1983. As the Supreme Court has recognized, “we have

26   consistently refused to read § 1983’s ‘plain language’ to mean anything other than what it says.”

27   Health & Hosp. Corp. of Marion Cnty. v. Talevski, 599 U.S. 166, 177 (2023) (citation omitted). Based

28   on the plain text, an “organization does not have standing to assert the rights of its members in a case
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 1   brought under 42 U.S.C. § 1983.” Nnebe v. Daus, 644 F.3d 147, 156 (2d Cir. 2011); Aguayo v.

 2   Richardson, 473 F.2d 1090, 1099 (2d Cir. 1973) (“Neither [the] language nor the history . . . [of §

 3   1983] suggests that an organization may sue under the Civil Rights Act for the violations of rights of

 4   members.”); Knife Rights, Inc. v. Vance, 802 F.3d 377, 387 (2d Cir. 2015) (citation omitted) (“[A]n

 5   organization does not have standing to assert the rights of its members in a case brought under 42

 6   U.S.C. § 1983.”); Vote.Org v. Callanen, 39 F.4th 297, 304-05 (5th Cir. 2022) (rejecting organization’s

 7   attempt to raise the rights of third parties under Section 1983 and holding that the “textual argument is

 8   powerful and [] response weak”). Indeed, Coalition is the plaintiff, not its members, meaning the City

 9   will be liable to Coalition despite the statute’s unambiguous command creating liability against the

10   individual deprived of a constitutional right. Under those circumstances, the parties deprived of

11   constitutional rights that the City “shall be liable to” are also not the proper real parties in interest to

12   satisfy Federal Rule of Civil Procedure 17(a)(1). See Fed. R. Civ. Proc. 17(a)(1) (establishing that

13   “[a]n action must be prosecuted in the name of the real party in interest” absent enumerated exceptions

14   in the rule); Charles A. Wright et al., Federal Practice & Procedure, § 1552 (3d ed. 2024) (“Absent

15   statutory authority, however, an association is not the appropriate party for bringing suit to assert the

16   personal rights of its members.”). Based on traditional statutory interpretation of the plain language,

17   Coalition’s claim fails.

18           Barring associational claims in the context of Section 1983 conforms to historical practice. The

19   Supreme Court did not develop the modern associational standing test until nearly a century after

20   Section 1983 became law. Congress was not legislating against the backdrop of a doctrine that did not

21   exist when it provided an exclusive cause of action to the person injured. Coalition will have no text

22   and history-based argument to prevail because one does not exist. Since the associational claims are

23   barred by statute, Coalition cannot state associational standing as a matter of law. Lexmark, 572 U.S.

24   at 128 (recognizing that “a court cannot apply its independent policy judgment to recognize a cause of

25   action that Congress has denied”); Nat’l R.R. Passenger Corp. v. Nat’l Ass’n of R.R. Passengers, 414

26   U.S. 453, 458 (1974) (acknowledging “when legislation expressly provides a particular remedy or

27   remedies, courts should not expand the coverage of the statute”).

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 1          The Fourth Amendment claim also underscores additional tension. The City understands that

 2   the Court rejected the City’s argument that Fourth Amendment rights are personal rights that cannot be

 3   vicariously asserted by Coalition. To avoid any waiver for appeal, the City renews its argument. By its

 4   terms, the Fourth Amendment guarantees “[t]he right of the people to be secure in their persons,

 5   houses, papers, and effects.” (emphasis added). In turn, “Fourth Amendment rights are personal rights

 6   which, like some other constitutional rights, may not be vicariously asserted.” Rakas v. Illinois, 439

 7   U.S.128, 133-34 (1978) (citation omitted); Plumhoff, 572 U.S. at 778 (applying the same rule in 1983

 8   actions). A litigant cannot raise the Fourth Amendment violations of an absent individual who is not a

 9   party to the proceedings. Nicholson v. City of Los Angeles, 935 F.3d 685, 696 (9th Cir. 2019); Jones v.

10   Las Vegas Metro. Police Dep’t, 873 F.3d 1123, 1128 (9th Cir. 2017) (holding that the wrong party was

11   named where Fourth Amendment rights are personal rights). There are narrow rule and statutory based

12   exceptions. See, e.g., Fed. R. Civ. Proc. 17(a)(1) (enumerating exceptions to the real party in interest

13   requirement); Moreland v. Las Vegas Metro. Police Dep’t, 159 F.3d 365, 371 (9th Cir. 1998)

14   (acknowledging that survivors of a decedent may assert claims on the decedent’s behalf under 42

15   U.S.C. § 1988 and recognizing that the suing party bears the burden showing it applies). Coalition’s

16   efforts to litigate the claims of its members leads to inconsistent constitutional result. A family

17   member cannot bring a claim on behalf of someone as a matter of law because Fourth Amendment

18   rights are personal rights, see, e.g., Longoria v. Pinal Cnty., 873 F.3d 699, 711 (9th Cir. 2017); Mabe

19   v. San Bernadino Cnty., 237 F.3d 1101, 1111 (9th Cir. 2001); however, an advocacy organization can

20   for the same claim. Coalition has not squared that result with the Fourth Amendment or constitutional

21   limits of Article III rooted in separation of powers. 9

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            9
24             The City addresses two cases that were not briefed. Heartland Acad. Cmty. Church v.
     Waddle, 427 F.3d 525, 532 (8th Cir. 2005) based its determination that Fourth Amendment claims can
25   be raised by associations on the grounds that Fourth Amendment rights are personal rights that cannot
     be raised vicariously within the context of the exclusionary rule and not in civil cases. However, the
26   Supreme Court has disagreed. Plumhoff, 572 U.S. at 778. Am. Fed’s of State, Cnty. & Mun. Emps.
     Council 79 v. Scott, 717 F.3d 851, n.1 (11th Cir. 2013) did not question the determination that a Union
27   had standing. The district court below found that the Union had standing in its own right for the now
     rejected diversion of resources theory and rejected the argument the City raises concerning personal
28   rights in the context of that theory. AFSCME v. Scott, 857 F. Supp. 2d 1322, 1327-39 (S.D. Fla. 2012).
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 1          Because there is ambiguity concerning the viability of prudential considerations in a 12(b)(1)

 2   standing analysis, the City alternatively requests dismissal of Coalition’s associational claim for failure

 3   to state claim under 12(b)(6). There is no prejudice to Coalition since it carries the burden. Kokkonen,

 4   511 U.S. at 378 (“It is to be presumed that a cause lies outside this limited jurisdiction. . . and the

 5   burden of establishing the contrary rests upon the party asserting jurisdiction.” (citations omitted)).

 6   VI.    CONCLUSION

 7          The City requests that the Court grant its motion without leave to amend. Plaintiffs were

 8   already given leave to plead their best case. Having failed to do so, further amendment is futile.

 9   Dated: January 2, 2025
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